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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION

UNITED STATES OF AMERICA,                  *
                                           *
                            Plaintiff,     *
                                           *
              v.                           *       Civil Action No. 2:18-cr-14
                                           *
DARRIUS MERRELL,                           *
                                           *
                            Defendant.     *

                   DEFENDANT DARRIUS MERRELL’S MOTION
                     TO MODIFY CONDITIONS OF RELEASE

       Pursuant this Court’s order (Dkt. No. 105) dated March 21, 2018, this Defendant

was released pending trial. Further, the Government did not oppose Defendant

remaining released following his change of plea. One of the conditions of Defendant’s

release is a curfew from 10:00 p.m. to 6:00 a.m.

       Very recently, Defendant’s aunt passed away, and many of his family members

have gathered in Brunswick. In order to allow Defendant additional time to gather and

mourn with his family, he respectfully requests that the start of his curfew be extended

to 11:30 p.m. on February 1 and 2, 2019.

       The undersigned has discussed this request with counsel for the Government.

Assistant U.S. Attorney Matthew Josephson has informed the undersigned that there is

no opposition to this request.
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 RESPECTFULLY SUBMITTED this the 22nd day of January, 2019.


                              s/ Steven Blackerby
                              Steven Blackerby
                              Georgia Bar No.: 141250
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                              Brunswick, GA 31521
                              (912) 264-8544
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                              CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the directives from the Court Notice of Electronic Filing (“NEF”) which

was generated as a result of electronic filing.


       This the 22nd day of January, 2019.



                                           s/ Steven Blackerby
                                           Steven Blackerby
                                           Georgia Bar No.: 141250
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                                           Attorney for Defendant Darrius Merrell
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